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            EXHIBIT F
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the document. We would consider this as satisfying our subpoena for documents and for
deposition. Please feel free to reach out if you have any questions.

Best,
Matthew

Matthew G. Aiken
Of Counsel

T: +1 202.887.3520
MAiken@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1700 M Street, N.W., Washington, D.C. 20036-5306




From: Melinda Bartoloni <melinda@restorecenterla.com>
Sent: Wednesday, April 16, 2025 2:56 PM
To: Aiken, Matthew G. <MAiken@gibsondunn.com>
Cc: Maria Terrana <mariat@restorecenterla.com>
Subject: Re: Redacted for PHI/PII - Restore Health and Wellness

Thank you .

Sent from my iPhone



       On Apr 16, 2025, at 2:55 PM, Aiken, Matthew G. <MAiken@gibsondunn.com>
       wrote:



       CAUTION: This email originated from outside of the organization. Do not
       click links or open attachments unless you recognize the sender and know
       the content is safe.

       Understood, thanks!

       Matthew G. Aiken
       Of Counsel

       T: +1 202.887.3520
       MAiken@gibsondunn.com

       GIBSON DUNN
       Gibson, Dunn & Crutcher LLP
       1700 M Street, N.W., Washington, D.C. 20036-5306




                                                 2
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 From: Melinda Bartoloni <melinda@restorecenterla.com>
 Sent: Wednesday, April 16, 2025 2:54 PM
 To: Aiken, Matthew G. <MAiken@gibsondunn.com>
 Cc: Maria Terrana <mariat@restorecenterla.com>
 Subject: Re: Redacted for PHI/PII - Restore Health and Wellness

 Hi Matthew:

 There comes a point when we stop sending statements but the client still
 has an open balance .

 Sent from my iPhone




        On Apr 16, 2025, at 2:47 PM, Aiken, Matthew G.
        <MAiken@gibsondunn.com> wrote:



        CAUTION: This email originated from outside of the
        organization. Do not click links or open attachments unless
        you recognize the sender and know the content is safe.

        Thank you for the quick response. And just so I understand, what
        happens when the member does not make a payment? Is the
        remainder forgiven or written off or something along those lines?

        Matthew G. Aiken
        Of Counsel

        T: +1 202.887.3520
        MAiken@gibsondunn.com

        GIBSON DUNN
        Gibson, Dunn & Crutcher LLP
        1700 M Street, N.W., Washington, D.C. 20036-5306




        From: Maria Terrana <mariat@restorecenterla.com>
        Sent: Wednesday, April 16, 2025 2:14 PM
        To: Melinda Bartoloni <melinda@restorecenterla.com>; Aiken,
        Matthew G. <MAiken@gibsondunn.com>
        Subject: RE: Redacted for PHI/PII - Restore Health and Wellness

        Hello Matthew:
        IOP was provided
        02/25-03/08/2021
        4/27/2021

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       Patient did not make any payments.

       “Submission Count” is how many times the statement has been
       mailed to the patient.
                                     Redacted for PHI/PII
       For the Patient chart#                             patient statement with the
       remainder balance was mailed to him 9 times (every time the
       amount changes the new statement with the new count appears)
                Redacted for PHI/PII
       For Chart                     statement was sent to him 16 times.

       Please reach out if you have additional questions.

       Thank you,

       0 DULD7HUUDQD
       
       Billing Supervisor
       Restore Health and Wellness Center, LLC

       P: (954) 641-5366 ext.1001
       F: (954) 306-3886


       From: Melinda Bartoloni <melinda@restorecenterla.com>
       Sent: Wednesday, April 16, 2025 1:55 PM
       To: Aiken, Matthew G. <MAiken@gibsondunn.com>; Maria Terrana
       <mariat@restorecenterla.com>
       Subject: Re: Redacted for PHI/PII - Restore Health and Wellness

       Hi:
       No problem, we will answer all of your questions. I am going to
       include our billing supervisor Maria. She can answer you much
       better than I can.

       Maria- please see the questions below and see if you could
       answer them for Matthew. Thank you .

       Sent from my iPhone


                On Apr 16, 2025, at 1:38 PM, Aiken, Matthew G.
                <MAiken@gibsondunn.com> wrote:



                CAUTION: This email originated from outside of
                the organization. Do not click links or open
                attachments unless you recognize the sender
                and know the content is safe.

                Thanks Melinda. Our case is focused on IOP treatments
                and so I am trying to understand what happened there
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            specifically. As I read the documents, the member was
            received IOP services from 2/25/2021 to 3/8/2021 and
            that he owed around $18,299.30. Are there any
            documents reflecting if he made any payments on those
            treatments. Or the 4/27/2021 IOP treatment? Also,
            what are the “Sent count” documents showing? Does
            the Submission Count show the number of times
            statements were sent to the member? Sorry for all of
            the questions, I just want to make sure I understand
            what happened.

            Best,
            Matthew

            Matthew G. Aiken
            Of Counsel

            T: +1 202.887.3520
            MAiken@gibsondunn.com

            GIBSON DUNN
            Gibson, Dunn & Crutcher LLP
            1700 M Street, N.W., Washington, D.C. 20036-5306




            From: Melinda Bartoloni
            <melinda@restorecenterla.com>
            Sent: Wednesday, April 16, 2025 11:47 AM
            To: Aiken, Matthew G. <MAiken@gibsondunn.com>
            Subject: Fwd: Redacted for PHI/PII Restore
            Health and Wellness



            Hi Matthew:

            Please see below .
            Sent from my iPhone

            Begin forwarded message:

                   From: Maria Terrana
                   <mariat@restorecenterla.com>
                   Date: April 16, 2025 at 11:38:15
                   AM EDT
                   To: Melinda Bartoloni
                   <melinda@restorecenterla.com>
                   Subject: Redacted for PHI/PII




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                   ___________________________________
                   _________
                   Feel free to contact me if you have
                   questions or concerns.


                   Thank you,

                   0 DULD7HUUDQD
                   
                   Director of Business Operations / HR
                   Supervisor
                   Restore Health and Wellness Center,
                   LLC
                   3471 N Federal Hwy, suite 410
                   Oakland Park, FL 33306
                   P: (954) 641-5366 ext.1001
                   F: (954) 306-3886


                   ____________________________
                   ____________________________
                   _______________________

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                   you from records whose confidentiality is protected by
                   Federal Law. Federal Regulation (42 C.F.R., Part 2)
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                   whom it pertains, or as otherwise permitted by such
                   regulations. A general authorization for the release of
                   medical or other information is NOT sufficient for this
                   purpose.*

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                   protected by various federal and state laws which
                   prohibit any further disclosure of this information by
                   you without the express written consent of the person to
                   whom it pertains or as otherwise permitted by such
                   laws. Any unauthorized further disclosure in violation
                   of state or federal law may result in a fine or jail
                   sentence or both. A general authorization for the release
                   of medical or other information is NOT sufficient
                   consent for release of these types of information. The
                   federal rule at 42 CFR Part 2 restricts use of the
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<[DRAFT] Restore Health and Wellness Center Declaration.docx>




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